BankruptcyZOlZ 01991-20|2, New Hopc Sonarc, lnc., ver. 4.6.8-782 - WQAY-VPNG"*°°

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BsE (ofncial Form 6E) (04/10)

Latitude Solutions, Inc. _ ease No,
Debtor (if known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. On|y holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the

property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet f`or each type of priority and label each with
the type of priority.

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The complete account number of any account the debtor has with the creditor is useli.ll to the trustee and the creditor and may be provided if
the debtor chooses to do so. lfa minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor chi|d, by John Doe, guardian." Do not disclose the child's name. See ll U.S.C. § l 12 and Fed.R.Bankr.P. 1007(m).

If any entity other than a spouse in ajoint case may bejointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. lf ajoint petition is filed, state whether husband, wife,
both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
Joint, or Community." lf the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
in the column labeled "Unliquidated." If` the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total ofall claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. lndividua| debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts L)t entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. lndividual debtors
with primarily consumer debts report this total also on the Statistical Summary ofCertain Liabilities and Related
Data.

i:i Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRlORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

l:l Domestic Support Obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,

or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
ll U.S.C. § 507(a)(1).

[:i Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs alter the commencement of the case but before the earlier of the

appointment of a trustee or the order for relief`. ll U.S.C. § 507(a)(3).

g Wagcs, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $l l,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in ll U.S.C. § 507(a)(4).

m Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred lirst, to the extent provided in ll U.S.C. § 507(a)(5).

*A mount subject to adjustment on 4/1/1 3 and every three years thereafter with respect to cases commenced on or after the date of adjustmentl

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B6E (Oflicial Form 6E) (04/10) - Cont.

m re Latitude Solutions, Inc. , Case No.
Debtor (if known)

 

 

m Certain farmers and fishermen

Claims of certain farmers and iishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in ll U.S.C. § 507(a)(6).

g Deposits by individuals

Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for persona|, family, or household use,
that were not delivered or provided. ll U.S.C. § 507(a)(7).

m Taxes and Certain Other Debts Owed to Governmenta| Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in ll U.S.C. § 507(a)(8).

i:l Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to the FDlC, RTC, Director of the OHice of Thrift Supervision, Comptroller of the Cun‘ency, or Board ot`

Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. l l
U.S.C. § 507 (a)(9).

ij Claims for Death or Personal Injury While Debtor Was Intoxicated

Claims for death or personal injury resulting fi'om the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. ll U.S.C. § 507(a)(10).

"‘ Amounts are subject to adjustment on 4/0 ]/I 3, and every three years thereafter with respect to cases commenced on or after the date of
adjustment

2

continuation sheets attached

Bankruptcy2012 0199|-20|2, New Hope Sol`twa.rc, Inc., ver. 4.6.8-782 » WQAY-V'PNG"‘”

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B6E (Official Form 6E) (04/10) - Cont.

Latitude Solutions, lnc.
Debtor

ln re

Case No.

 

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SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

(Continuation Sheet)

Sec. 507(a)(5)

 

Type of Priority for Claims Listed on This Sheet

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ACCOUNT NO- Incurred: 2012
_ _ Consideration: Employer's
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c/o Ameritas 18,828.00 18,828.00 0.00
PO Box 5507
Lincoln, NE 68505
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Schedule E.) Report also on the Summary
of Schedules)

 

 

Totals >

(Use only on last page of the completed
Schedule E. Ifapplicable, report also on
the Statistical Summary of Certain
Liabilities and Related Data.)

 

 

 

 

 

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Case 12-46295-rfn11 Doc 2-12 Filed 11/09/12 Entered 11/09/12 19:14:11 Page 4 of 4

BsE (omcial Form 6E) (04/10) - coml

]n re Latitude Solutions, Inc.

 

Debtor

Case No.

 

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SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
Sec. 507(a)(8)

(Continuation Sheet)

 

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Philadelphia, PA 19101-7346
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PO Box 33 53
West Palm Beach, FL 33402-3353
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Schedule E.) Report also on the Summary
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Totals > $ $ 18,828.00 $ 393.35
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the Statistical Summary ofCertain
Liabilities and Related Data.)

 

 

 

 

 

 

 

